Case 2:22-cv-07775-JWH-KES   Document 228      Filed 04/28/23   Page 1 of 4 Page ID
                                  #:1702


   1 Matthew C. Bernstein, Bar No. 199240
     MBernstein@perkinscoie.com
   2 PERKINS COIE LLP
   3 11452 El Camino Real, Ste 300
     San Diego, California 92130-2080
   4 Telephone: +1.858.720.5700
     Facsimile: +1.858.720.5799
   5
     Amanda Tessar (admitted pro hac vice)
   6 ATessar@perkinscoie.com
     PERKINS COIE LLP
   7 1900 Sixteenth Street, Suite 1400
   8 Denver, Colorado 80202-5255
     Telephone: +1.303.291.2357
   9 Facsimile: +1.303.291.2457
  10 ATTORNEYS FOR DEFENDANTS DISH NETWORK
     CORPORATION, DISH NETWORK L.L.C., AND
  11 DISH NETWORK SERVICE L.L.C.
  12                    UNITED STATES DISTRICT COURT
  13                   CENTRAL DISTRICT OF CALIFORNIA
  14   ENTROPIC COMMUNICATIONS,              No. 2:22-cv-07775-JWH-JEM
  15   LLC,
                Plaintiff,                   JOINT STATUS REPORT BY
  16                                         ENTROPIC AND DISH IN
            v.                               COMPLIANCE WITH DOCKET
  17                                         215 (JUDGE MCDERMOTT)
       DIRECTV, LLC and
  18   AT&T SERVICES, INC.,
  19            Defendants.

  20   ENTROPIC COMMUNICATIONS, No. 2:22-cv-07959-JWH-JEM
       LLC,
  21                                 Case Transferred from E.D. Texas
                Plaintiff,
                                     (2:22-cv-76-JRG)
  22        v.
  23   DISH NETWORK CORPORATION,
       DISH NETWORK L.L.C., and DISH
  24   NETWORK SERVICE L.L.C.,
  25              Defendants.
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                                             -1-
                                                                     No. 2:22-cv-07775-JWH-JEM
                                                        JOINT STATUS REPORT REGARDING DKT. 215
Case 2:22-cv-07775-JWH-KES      Document 228     Filed 04/28/23    Page 2 of 4 Page ID
                                     #:1703


   1        On April 13, 2023, this Court found DISH’s Motion to Protective Order
   2   moot. (Dkt. 215, “Order.”) The Court ordered Plaintiff Entropic Communications,
   3   LLC (“Entropic”) and Defendants DISH Network Corporation, DISH Network
   4   L.L.C., and Dish Network Service L.L.C. (“DISH”) to “meet and confer after the
   5   District Court’s April 21, 2023 OSC hearing and submit a Joint Status Report no
   6   later than April 28, 2023 on whether Entropic may move forward with its
   7   depositions.” Dkt. 215 at 2. Entropic and DISH submit this Joint Status Report in
   8   compliance with the Order.
   9        Since the date of the Order, the parties have attended the hearing with Judge
  10   Holcomb on April 21, 2023. Additionally, they agreed to the appointment of a
  11   special master (David Keyzer) and are working together to have him check
  12   conflicts, at which point they anticipate prepare an order appointing him as special
  13   master, consistent with the guidance provided by the Court at Docket #223.
  14        DISH’s Position
  15        Meanwhile, DISH has agreed to begin depositions and has so far offered
  16   dates for two of the noticed witnesses on May 26th and June 8th, with plans to
  17   continue offering dates for additional witnesses, particularly as document
  18   productions are completed for particular areas of knowledge for the various
  19   witnesses. DISH additionally plans to identify 30(b)(6) topics that the June 8th
  20   witness will cover once negotiations regarding objections to relevant topics are
  21   resolved.
  22        Entropic’s Position
  23        DISH has not yet provided dates for the remaining deponents or any 30(b)(6)
  24   designees. It is Entropic’s understanding that DISH has agreed all depositions may
  25   move forward, subject to DISH first finishing its production of documents relevant
  26   to each deposition. Entropic is hopeful it will receive those documents and the
  27   corresponding deposition dates promptly. To the extent it does not, Entropic
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                                               -2-
                                                                        No. 2:22-cv-07775-JWH-JEM
                                                           JOINT STATUS REPORT REGARDING DKT. 215
Case 2:22-cv-07775-JWH-KES      Document 228     Filed 04/28/23    Page 3 of 4 Page ID
                                     #:1704


   1   understands this issue will be submitted to a Special Master, pursuant to the Court’s
   2   Order and the parties’ agreement to the appointment of a Special Master.
   3 Dated: April 28, 2023
   4
                                           By: /s/ Amanda Tessar
   5
                                               Matthew C. Bernstein, Bar No. 199240
   6                                           MBernstein@perkinscoie.com
   7                                           PERKINS COIE LLP
                                               11452 El Camino Real, Ste 300
   8                                           San Diego, California 92130-2080
                                               Telephone: +1.858.720.5700
   9                                           Facsimile: +1.858.720.5799
  10                                           Amanda Tessar (admitted pro hac vice)
  11                                           ATessar@perkinscoie.com
                                               Trevor Bervik (admitted pro hac vice)
  12                                           TBervik@perkinscoie.com
                                               PERKINS COIE LLP
  13                                           1900 Sixteenth Street, Suite 140
  14                                           Denver, Colorado 80202-5255
                                               Telephone: +1.303.291.2300
  15                                           Facsimile: +1.303.291.2400
  16                                           Daniel T Keese, Bar No. 280683
                                               DKeese@perkinscoie.com
  17                                           PERKINS COIE LLP
  18                                           1120 NW Couch Street 10th Floor
                                               Portland, OR 97209-4128
  19                                           Telephone: +1.503.727.2000
                                               Fax: +1.503.727.2222
  20
                                           ATTORNEYS FOR DEFENDANTS DISH
  21                                       NETWORK CORPORATION, DISH
  22                                       NETWORK L.L.C., AND DISH NETWORK
                                           SERVICE L.L.C.
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                                               -3-
                                                                        No. 2:22-cv-07775-JWH-JEM
                                                           JOINT STATUS REPORT REGARDING DKT. 215
Case 2:22-cv-07775-JWH-KES   Document 228    Filed 04/28/23   Page 4 of 4 Page ID
                                  #:1705


   1                                  By: /s/ James A. Shimota
                                         James Shimota (admitted pro hac vice)
   2                                     Jason Engel (admitted pro hac vice)
   3                                     George Summerfield (pro hac vice
                                         application pending)
   4                                     K&L GATES LLP
                                         70 W. Madison Street, Suite 3300
   5                                     Chicago, IL 60602
                                         Tel.: (312) 372-1121
   6                                     Fax: (312) 827-8000
   7                                     jim.shimota@klgates.com
                                         jason.engel@klgates.com
   8                                     george.summerfield@klgates.com
   9                                        Christina N. Goodrich (SBN 261722)
  10                                        Connor J. Meggs (SBN 336159)
                                            K&L GATES LLP
  11                                        10100 Santa Monica Blvd., 8th Fl.
                                            Los Angeles, CA 90067
  12                                        Tel.: (310) 552-5547
                                            Fax: (310) 552-5001
  13                                        Email: christina.goodrich@klgates.com
  14                                        connor.meggs@klgates.com
  15                                        Nicholas F. Lenning
                                            (admitted pro hac vice)
  16                                        K&L GATES LLP
  17                                        925 Fourth Avenue, Suite 2900
                                            Seattle, WA 98104
  18                                        Tel.: (206) 623-7580
                                            Fax: (206) 370-6006
  19                                        nicholas.lenning@klgates.com
  20                                        Darlene F. Ghavimi
  21                                        (admitted pro hac vice)
                                            Matthew Blair
  22                                        (admitted pro hac vice)
                                            K&L GATES LLP
  23                                        2801 Via Fortuna, Suite #650
  24                                        Austin, TX 78746
                                            Tel.: (512) 482-6919
  25                                        Fax: (512) 482-6859
                                            darlene.ghavimi@klgates.com
  26                                        matthew.blair@klgates.com
  27                                 ATTORNEYS FOR PLAINTIFF ENTROPIC
  28                                 COMMUNICATIONS, LLC
                                        -4-
                                                                   No. 2:22-cv-07775-JWH-JEM
                                                      JOINT STATUS REPORT REGARDING DKT. 215
